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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 RAPHAEL TEWELDE, individually
 and on behalf of all others similarly
 situated,

                     Plaintiff,
                                             No.
              v.
                                             COMPLAINT
 POP A LOCK OF NORTHERN                      JURY TRIAL DEMANDED
 NEW JERSEY

                     Defendant.




      Plaintiff Ralph Tewelde (“Plaintiff”), residing at 39 Quinby Place, West

Orange, New Jersey 07052, by his undersigned counsel, alleges the following upon

personal knowledge as to his own acts and upon information and belief as to all other

matters.

                            NATURE OF THE ACTION

       1.     This is a collective action under the Fair Labor Standards Act, 29

U.S.C. §201, et seq. (the “FLSA”), and a class action under the New Jersey Wage

and Hour Law, N.J.S.A. §34:11-56a, et seq. (the “NJWHL”) against Defendant Pop

A Lock of Northern New Jersey (“Defendant” or “Pop A Lock”), whose

headquarters address is 227 Union Avenue, Bloomingdale, New Jersey 07403, for

Defendant’s failure to pay its technician employees at one and one-half times their


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hourly rate during hours worked over forty (40) in a workweek.

       2.     Defendant is a franchise owned and operated by Tom and Charlotte

 Williams, employing technicians in ten (10) northern and central New Jersey

 counties to provide roadside assistance to drivers.

      3.      Technicians are employed pursuant to employment agreements with

Defendant.

      4.      As part of their employment, technicians are sent out into the field to

perform—among other duties—roadside automotive work and locksmith services

for commercial, industrial, and residential clients.

      5.      During the course of a given workweek, technicians routinely work

more than forty (40) hours. They are, however, routinely denied pay at one and one-

half times their ordinary rate during hours worked over forty (40) in a workweek, in

violation of the FLSA and the NJWHL. Instead, technicians are paid at their ordinary

rate during all hours actually worked, including those over forty (40).

                          JURISDICTION AND VENUE

      6.      This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to

28 U.S.C. §1331 and the FLSA, 29 U.S.C. §216(b). This Court has jurisdiction over

Plaintiff’s NJWHL claims pursuant to 28 U.S.C. §1367.

      7.      Venue is proper in this District because Pop A Lock resides in this

District, and a substantial part of the events giving rise to Plaintiff’s claims, and


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those of the Class, occurred in this District, including but not limited to Plaintiff’s

employment by Pop A Lock and the employment of other technicians by Pop A

Lock.

                                  THE PARTIES

        8.    Plaintiff is a citizen of the State of New Jersey, residing in West

Orange. Plaintiff worked as a roadside technician during the limitations period with

regard to both the FLSA and the NJWHL, performing assistance to stranded

motorists who had experienced problems including, but not limited to, running out

of gas, breaking down, getting flat tires, etc. During his scheduled shifts, Plaintiff

was directed to remain within a specific geographical area from where he would be

dispatched to handle calls for service. Plaintiff was designated an employee pursuant

to an employment contract, and indeed had no executive, administrative,

professional, managerial, or supervisory authorities. Plaintiff routinely worked fifty

(50) hours or more per week with no variation in his rate of pay when working in

excess of forty (40) in a work week, in violation of the FLSA and the NJWHL.

Plaintiff’s written consent to bring this action, pursuant to 29 U.S.C. §216(b), is

attached hereto as Exhibit A.

        9.    Defendant Pop A Lock has been an employer of the technicians at all

relevant times within the meaning of the FLSA and the NJWHL, directing them to

perform services within the ten (10) northern and central New Jersey counties.



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                        COLLECTIVE ALLEGATIONS

      10.     Plaintiff brings the First Count as a collective action pursuant to

Section 216(b) of the FLSA, on behalf of himself and other similarly situated people

(the “Collective” or the “technicians”), which shall include:

      All persons who work or worked for Defendant as technicians from
      January 2, 2017 through the date the Court orders notice to be sent in
      accordance with Section 216(b) of the FLSA (the “FLSA Class
      Period”). Excluded from the Collective are Defendant, and any
      corporations, partnerships or other entities affiliated with Defendant.

      11.     Defendant is liable under the FLSA for, inter alia, failing to properly

compensate Plaintiff and the Collective for time worked in excess of forty (40) hours

per week. There are likely fifty (50) or more similarly situated current and former

employees of Defendant who have been underpaid in violation of the FLSA and who

would benefit from the issuance of a court-supervised notice of the present lawsuit

and the opportunity to join the present lawsuit. Those similarly situated employees

are known to Defendant, are readily identifiable, and can be located through

Defendant’s records that Defendant is required to create and maintain under

applicable federal and state law.

      12.     Notice should be sent to the Collective pursuant to 29 U.S.C. §216(b).




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                          CLASS ACTION ALLEGATIONS

      13.        Plaintiff brings the Second Count as a class action pursuant to Fed. R.

Civ. P. 23(a) and (b)(3) on behalf of the following class of technicians (the “Class”):

      All persons who work or worked for Defendant as technicians in the
      State of New Jersey from January 2, 2014 through the date a judgment
      is entered in this action. Excluded from the Class are Defendant, and
      any corporations, partnerships or other entities affiliated with
      Defendant.

      14.        The members of the Class are so numerous that joinder of all members

would be impracticable. Plaintiff estimates that there are at least fifty (50) members

of the Class.

      15.        Questions of law and fact common to all the members of the Class that

predominate over any questions affecting only individual members, include:

                a.    Whether Defendant failed to pay Plaintiff and the Class at
                      overtime rates during hours worked over forty (40) per
                      workweek; and

                b.    Whether Defendant’s failure to pay Plaintiff and the Class at
                      overtime rates during hours worked over forty (40) per
                      workweek violated the NJWHL.

      16.        The claims of Plaintiff are typical of the claims of the members of the

Class. Plaintiff has no interests antagonistic to those of the Class, and Defendant has

no defenses unique to Plaintiff.

      17.        Plaintiff will protect the interests of the Class fairly and adequately,

and Plaintiff has retained attorneys experienced in class action litigation.


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       18.     A class action is superior to all other available methods for this

controversy because:

              a.      The prosecution of separate actions by the members of the Class

would create a risk of adjudications with respect to individual members of the Class

that would, as a practical matter, be dispositive of the interests of the other members

not parties to the adjudications, or substantially impair or impede their ability to

protect their interests;

              b.      The prosecution of separate actions by the members of the Class

would create a risk of inconsistent or varying adjudications with respect to the

individual members of the Class, which would establish incompatible standards of

conduct for Defendant;

              c.      Defendant acted or refused to act on grounds generally

applicable to the Class and questions of law and fact common to members of the

Class predominate over any questions affecting only individual members; and

              d.      Technicians who are currently employed by Pop A Lock are

likely to fear retaliation and/or the loss of their employment, and thus are unlikely

to commence their own actions.




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                        SUBSTANTIVE ALLEGATIONS

      19.     Plaintiff was employed by Pop A Lock as a technician during the

limitations period of both FLSA and the NJWHL.

      20.     The nature of Defendant’s business required Plaintiff to perform shift

work for which he remained on-call at times and locations that precluded him from

making effective use of the on-call time for his own purposes.

      21.     Accordingly, as a technician, Plaintiff was scheduled to, and did, work

fifty (50) hours or more per week on a regular basis.

      22.     Plaintiff began his employment with Defendant in July 2019 and

ended his employment with Defendant in August 2019.

      23.     During that time, he was routinely required to work more than forty

(40) hours in a week. For example, during the week of July 29, 2019 to August 2,

2019, Plaintiff worked more than forty (40) hours but was not paid at one and one-

half times his ordinary rate during hours worked in excess of forty (40).

      24.     Indeed, at all times, Plaintiff was not paid at one and one-half times

his ordinary rate during hours worked over forty (40) in a workweek.

      25.     Upon information and belief, all of the other technicians are similarly

required to work more than forty (40) hours per week.

      26.     Upon information and belief, Pop A Lock does not pay Plaintiff or the

other technicians one and one-half times their ordinary rate during each hour worked



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over forty (40).

      27.     Defendant was aware that the members of the Collective were engaged

in work in excess of forty (40) hours per week and did not appropriately compensate

for this overtime work. Defendant knew that this was a violation of applicable labor

laws and the failure to so compensate was therefore willful.

                                          COUNT I
Fair Labor Standards Act, 29 U.S.C. §201, et seq.: Failure to Pay Overtime
            (Brought on Behalf of Plaintiff and the Collective)

      28.     Plaintiff incorporates and re-alleges all of the preceding paragraphs

as if they were fully set forth herein.

      29.     During the FLSA Class Period, Plaintiff and others similarly situated

were “employees” of Defendant within the meaning of the FLSA, 29 U.S.C. §203(e)

and (g).

      30.     At all relevant times, Defendant has been an “employer” engaged in

interstate “commerce” within the meaning of the FLSA, 29 U.S.C. §203.

      31.     At all relevant times, Defendant’s business has had annual gross

revenues in excess of $500,000.

      32.     Plaintiff consents in writing to be a party to this action pursuant to

29 U.S.C. §216(b). Plaintiff’s written consent is attached hereto as Exhibit A

and incorporated by reference.

      33.     Defendant was required to pay Plaintiff and others similarly situated

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all wages due, including applicable overtime wages during all hours worked in

excess of forty (40) hours in a workweek.

      34.     During the FLSA Class Period, Defendant failed to pay Plaintiff and

other technicians all wages due, including overtime wages of not less than one and

one-half times the regular rate of pay during each hour worked in excess of forty

(40) hours in a workweek, which they are entitled under the FLSA, 29 U.S.C. §207.

      35.     Defendant’s violation of the overtime requirements of the FLSA was

part of its regular business practice and constituted a pattern, practice, and/or policy.

      36.     Defendant was aware that this pattern, practice, and/or policy was

contrary to law, and was therefore a willful violation.

      37.     As a result of Defendant’s violations of the FLSA, Plaintiff and others

similarly-situated have suffered damages by being denied overtime wages in

accordance with the FLSA in amounts to be determined at trial, and are entitled to

recovery of such amounts, liquidated damages in an amount equal to their unpaid

wages, pre-judgment and post-judgment interest, reasonable attorneys’ fees, costs,

and punitive damages pursuant to 29 U.S.C. §216(b).

      38.     Defendant’s unlawful conduct, as described above, was willful and

intentional and/or was not in good faith. Defendant knew or should have known that

the practices complained of herein were unlawful. Defendant knew that Plaintiff and

others similarly situated routinely worked in excess of forty (40) hours per week and


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that Plaintiff and others similarly situated were not paid at required overtime rates.

      39.     Defendant has not made a good faith effort to comply with the FLSA

with respect to the compensation of Plaintiff and others similarly situated.

      40.     Because Defendant’s violations of the FLSA have been willful, a

three-year statute of limitations applies, pursuant to the FLSA, 29 U.S.C. §255(a).

      41.     Plaintiff and the technicians seek to enjoin Defendant from its

continuing violations of 29 U.S.C. §207.

                                       COUNT II

            NJWHL, N.J.S.A. 34 § 11-56a4, Failure to Pay Overtime
             (Brought on Behalf of Plaintiff and the NJWHL Class)

      42.     Plaintiff incorporates and re-alleges all of the preceding paragraphs as

if they were fully set forth herein.

      43.     At all relevant times, Plaintiff and the Class were employed by Pop A

Lock within the meaning of the NJWHL.

      44.     Pop A Lock willfully violated Plaintiff’s rights, and the rights of the

members of the Class, by failing to pay them overtime compensation at rates not less

than one and one-half times their regular rate of pay during each hour worked in

excess of forty (40) hours in a work week.

      45.     As a result of Defendant’s violations of the NJWHL, Plaintiff and the

Class have suffered damages in amounts to be determined at trial and are entitled to

recovery of such amounts—including statutory liquidated damages— pre-judgment

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and post-judgment interest, and reasonable attorneys’ fees and costs pursuant to the

NJWHL.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that this Court grant Plaintiff and the proposed

class and collective the following relief:

      A.      An order certifying this case as a collective action for the violations of

the FLSA, as it pertains to the claim under 29 U.S.C. §216(b) for the class of

employees described herein and designating Plaintiff’s counsel as Class Counsel;

      B.      An order certifying this case as a class action for violations of the

NJWHL as it pertains to the class of employees described herein, appointing

Plaintiff as Class Representative, and appointing Plaintiff’s counsel as Class

Counsel;

      C.      Award Plaintiff and the technicians all statutory damages,

compensatory damages, punitive damages, liquidated damages, pre-judgment

interest, and post- judgment interest, and any other damages that may be just and

proper;

      D.      Award Plaintiff and the technicians their reasonable attorneys’ fees,

costs and expenses as authorized by law;

      E.      Enjoin Defendant from its continued violation of the FLSA and the

NJWHL; and



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      F.      Grant Plaintiff and the Class such other relief as may be just and

proper.

                                 JURY DEMAND

Plaintiff hereby demands a trial by jury.

DATED: January 2, 2020                           Dressel/Malikschmitt LLP

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